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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

  NETLIST, INC.,

               Plaintiff,
                                        Civil Action No. 2:22-CV-203-JRG-RSP
  v.
                                             JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC., MICRON
  SEMICONDUCTOR PRODUCTS, INC., AND
  MICRON TECHNOLOGY TEXAS LLC,

               Defendants.



           DEFENDANTS’ RESPONSE TO PLAINTIFF’S OBJECTION TO
                    CLAIM CONSTRUCTION ORDER
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          Defendants (collectively, “Micron”) submit the following response to Plaintiff’s (“Netlist”)

 Objection to the Court’s Claim Construction Order.

 I.       The “drive” Term (’339 Patent)

                        Term                                  The Court’s Construction

     “to actively drive a respective byte-wise “to enable only one of the data paths for the
     section of the N-bit wide write data” (’339 respective byte-wise section of the N-bit wide
     Patent, Claim 1)                            write data while the other possible data paths
                                                 for the same respective byte-wise section of
                                                 the N-bit wide write data are disabled”

          In Netlist, Inc. v. Samsung Elec. Co., Ltd., No. 21-cv-00463 (E.D. Tex.), the Court

 construed the term “drive” in the ’339 patent to mean “enabling only one of the data paths while

 the other possible data paths are disabled.” Id., ECF No. 114 at 34. The term is present in claims

 that recite, for example, “actively drive a respective byte-wise section of the N-bit wide write

 data.” ’339 patent, claim 1. The dispute between Micron and Netlist in this case is (or was)1

 whether the Court’s prior “drive” construction deleted the associated claim terms: “byte-wise

 section” and “write data.” The Court’s claim construction in the present case properly determined

 that it did not.

          Netlist objects to the Court’s construction on two grounds. First, Netlist argues that the

 Court erred by excluding read paths from the “other possible paths” in the Court’s prior “drive”

 construction. Objections at 1.     This argument, however, ignores that the claim recites “drive”

 with respect to “write data.” See ’339 patent, claim 1. Given the plain claim language, the Court

 here properly stated that the “‘other possible paths’ are paths for the same data from the same ‘one


 1
   The Court should deny Netlist’s Objections as moot. Netlist is no longer pursuing infringement
 of the ’339 patent. ECF No. 258 (Oct. 23, 2023 Hr’g Tr.) at 50:9-10 (“MR. SHEASBY: We are,
 in fact, not proceeding with the ’339 and ’506 Patents at this time, Your Honor.”). Further, the
 PTAB recently issued a Final Written Decision finding all asserted claims of the ’339 patent
 unpatentable. Dkt. No. 246.

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 side of the buffer’ to the same ‘other’ side of the buffer.” Dkt. No. 249 at 25-26. In other words,

 the claims that recite “write data” should not be redrafted now to recite “read and/or write data.”

 Netlist has provided no reason to change the plain claim language.

        Instead, Netlist’s objections only cite to one sentence from the ’339 patent’s specification

 as alleged support. Objections at 1 (citing ’339 patent at 19:56-61).2 This citation fails for multiple

 reasons. First, Netlist never cited to the ’339 patent at 19:56-61 in its claim construction briefing

 for the present case—and its attempt to do so now is improper. Second, the sentence at 19:56-61

 describes a mere embodiment—and importantly—an embodiment that does not discuss “drive”

 with respect to “read and/or write data.” This cited embodiment is not clear lexicography or

 disclaimer that warrants the drastic change to the plain claim language that Netlist is urging.

        Netlist next argues that the Court erred by construing the claims to require “enabling data

 paths corresponding to ‘the respective bytewise section of the N-bit wide write data’ and disabling

 data paths corresponding to ‘the same respective byte-wise section of the N-bit wide write data.’”

 Objections at 1-2. This argument also ignores the plain language of the claims, which makes it

 clear that the data path is specifically for a “byte-wise section.” See, e.g., ’339 patent, claim 1.

 Thus, the Court properly rejected Netlist’s attempt to read out the term “byte-wise” from the claims.

 Dkt. No. 249 at 26 (“Clearly the plain language of the claims requires the respective data paths to

 be at least byte-wise”) (emphasis in original). Netlist has once again provided no reason to change

 the plain claim language.




 2
   Netlist also cites to “Dkt. 97-8 at 9-10” as alleged support from the “prosecution history.”
 Objections at 1. The Court, however, properly observed that Netlist previously cited “Dkt. 97-8
 at 9-10” to argue that “the prosecution history supports its position,” but failed to provide
 “further explanation.” Dkt. No. 249 at 26 n 4. Netlist has similarly not provided any
 explanation here with respect to this citation, and its arguments should similarly be rejected.

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        Instead, Netlist argues that the “claims distinguish between ‘byte wise’ and ‘byte wide.’”

 Objections at 2. This argument fails for many reasons. Netlist did not make this argument in the

 claim construction briefing for the present case, and raising it now is improper. Furthermore,

 Netlist provided no substantive explanation as to why recital of “a byte wide” (in the preamble

 of ’339 patent claim 1) somehow changes the meaning of the separately recited “byte-wise buffers.”

 Indeed, the Court properly noted that “Netlist does not appear to dispute the plain meaning of

 ‘byte-wise’ refers to a byte rather a nibble.” Dkt. No. 249 at 26. Nor does Netlist’s citations to

 the specification at 13:54-63, 14:1-17, 14:15-34, or 17:14-443 support changing the plain claim

 language as Netlist urges. Objections at 2. The Court properly noted that the “the plain language

 of the claims requires the respective data paths to be at least byte-wise, but that does not prohibit”

 other embodiments from being described in the specification. Dkt. No. 249 at 26.

        Ultimately, the Court’s construction simply takes its previous (and proper) construction of

 the term “drive” and applies it to the larger claim term context “drive a respective byte-wise section

 of the N-bit wide write data.” Because Netlist agrees with the Court’s construction of the term

 “drive,” Netlist cannot show that the Court’s application of the construction of the “drive” term to

 the ’339 patent claims is clearly erroneous or contrary to law. Netlist’s objections should be

 rejected, and the Court should adopt the Magistrate’s claim constructions.




 3
  Netlist did not cite to 17:14-44 in the claim construction briefing for the present case. Thus, its
 new arguments based on that portion of the specification are improper.

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 Dated: December 4, 2023           Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on this 4th day of December 2023 the foregoing

 document was electronically filed with the Clerk of Court using the Court’s CM/ECF system, which

 will send notification of such filing to all counsel of record, including counsel of record for Plaintiff

 Netlist.



                                                  /s/ Michael R. Rueckheim
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